Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 1 of 10 PageID 186




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION


   VIRGIL GOODSON,

                         Plaintiff,

                                                        Case No.: 5:17-CV-10-RBD-PRL
   v.

   OS RESTAURANT SERVICES, LLC
   a/k/a OUTBACK STEAKHOUSE OF FLORIDA
   LLC d/b/a OUTBACK STEAKHOUSE,

                     Defendant.
   ____________________________________/

        JOINT MOTION FOR APPROVAL OF SETTLEMENT AND DISMISSAL WITH
              PREJUDICE AND INCORPORATED MEMORANDUM OF LAW

           Plaintiff, VIRGIL GOODSON (“GOODSON”), and Defendant OS RESTAURANT

   SERVICES, LLC (“OSRS”) (Goodson and OSRS collectively referred to herein as the

   “Parties”), by and through their undersigned counsel and pursuant to the Court’s Order dated

   February 1, 2018, hereby jointly file their Motion for Approval of Settlement and Dismissal

   with Prejudice (hereinafter “Joint Motion for Approval”) and move the Court to approve the

   settlement between them. The Parties further request that the Court dismiss this matter with

   prejudice pursuant to Federal Rule of Civil Procedure 41(a)(ii). In support thereof, the

   Parties submit the following incorporated memorandum of law and state as follows:

                                        MEMORANDUM

         A. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

           On or about October 19, 2016, Goodson filed a Complaint against OSRS in the
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 2 of 10 PageID 187




   Circuit Court of the Fifth Judicial Circuit, in and for Lake County, Florida. [Dkt 1]. In his

   Complaint, Goodson claimed that OSRS violated the Florida Minimum Wage Act

   (“FMWA”), Fla. Stat. §§ 448.110 et seq., the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

   §§ 201 et seq., and Art. X. § 24 of the Florida Constitution by allegedly failing to pay

   minimum and overtime wages. [Dkt. 2]. Goodson’s Complaint included allegations that

   OSRS required him to spend more than 20% of his time performing non-tipped work and/or

   employed him in a non-tipped occupation while receiving the tipped wage rate, worked him

   off the clock, and failed to pay him overtime. [Dkt. 2].

          OSRS removed this action to this Court on or about January 12, 2017. [Dkt 1].

   Subsequently thereafter, OSRS moved to dismiss Goodson’s Complaint on the grounds that

   he failed to state a claim for which relief could be granted. [Dkt. 5]. More specifically,

   OSRS asserted that Goodson could not show that either the FMWA, Florida Constitution or

   the FLSA prohibit the use of a subminimum wage to compensate a tipped employee if the

   employee’s allegedly “non-tipped” duties exceeded 20% of his workday. [Id.]. OSRS

   targeted Goodson’s reliance on an isolated provision in the Department of Labor (“DOL”)

   Enforcement Handbook, which was neither subjected to notice-and-comment rulemaking nor

   found in the DOL’s own regulations. [Id.]. The Court denied OSRS’s motion to dismiss,

   rejecting OSRS’s position based on the Eight Circuit’s opinion in Fast v. Applebee’s Int’l.,

   Inc., 638 F.3d 872, 877, 880 (8th Cir. 2011) and its finding that the DOL’s regulations and

   DOL Enforcement Handbook were both entitled to deference as permissible interpretations

   of the FLSA. [Dkt. 16].

          OSRS answered Goodson’s Complaint on May 25, 2017. [Dkt. 19]. In its Answer



                                                  2
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 3 of 10 PageID 188




   and Defenses, OSRS denied Goodson’s claims in their entirety and maintained its position

   that the so-called “20% rule” could not be a basis of liability here. [Id.]. Additionally, OSRS

   raised several defenses (some of which were affirmative in nature) to Goodson’s claims that

   he worked in a dual occupation, that he had properly complied with the FMWA’s pre-suit

   demand requirement, that he had not been properly paid for all hours worked, that OSRS

   acted willfully and not in good faith, and that Goodson used the complaint mechanism

   available to him to eradicate any purported wage violations. [Id.].

          Prior to OSRS answering the Complaint, the Court entered a Scheduling Order, which

   required, among other things, that Goodson answer certain Court-initiated interrogatories,

   that the parties serve upon each other certain wage and hour documentation, and that the

   parties meet and confer to discuss settlement. [Dkt. 12]. The Parties complied with each of

   these requirements. [See e.g., Dkt. 13, 14, 17]. The Parties proceeded with substantial

   written and other discovery (namely depositions) and later participated in Court-ordered

   mediation on December 5, 2017. [Dkt. 21]. Although the Parties were unable to resolve the

   matter at mediation, the Parties continued their negotiation efforts until they formally settled

   the case on or about January 30, 2018, which was due in part to the efforts of the mediator

   who is well-experienced in wage and hours matters. [Dkt. 23]. A copy of the Settlement

   Agreement and Release (hereinafter “Settlement”) memorializing the Parties’ settlement is

   attached hereto as Exhibit A. Pursuant to the Court’s Order dated February 1, 2018, the

   Parties now jointly file the instant motion seeking approval of the Settlement. [Dkt. 24].

      B. ARGUMENT

          The Court should approve the Settlement. The Settlement reflects a fair compromise



                                                   3
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 4 of 10 PageID 189




   between the Parties over heavily contested legal and factual issues. Indeed, as reflected

   above, OSRS has maintained and continues to maintain that Goodson’s claims with respect

   to the 20% rule lack legal viability. Further, OSRS has denied the underlying facts

   supporting each and every one of Goodson’s claims and has raised several defenses in

   attempt to negate or otherwise limit any recovery Goodson would ultimately receive even if

   he were to prevail on his claims. Finally, as described in more detail below, the Settlement is

   fair and reasonable in that it contains no provisions that offend notions of fairness and the

   amounts to be paid to Goodson’s counsel were negotiated separate and apart from those

   agreed to resolve Goodson’s substantive claims. Based on the foregoing, the Parties’ Joint

   Motion for Approval should be granted.

          1. The Parties’ Settlement is Fair and Reasonable.

          It is well-established that in order to approve a settlement in this context, the Court

   must examine the settlement to determine whether it is a “fair and reasonable resolution of a

   bona dispute” of the claims raised. Lynn's Food Store, Inc. v. United States, 679 F.2d 1350,

   1355 (11th Cir. 1982). However, even with that review, approval of a settlement is

   warranted unless a proposed settlement is obviously deficient. See Su v. Electronic Arts,

   Inc., No. 6:05-cv-131-Orl-28JGG, 2006 WL 4792780, *2 (M.D. Fla. Aug. 29, 2006).

   Indeed, there is a strong presumption in favor of granting approval where the facts

   demonstrate that the settlement is a fair and reasonable compromise of a bona fide dispute

   regarding material issues in the litigation. Id. at *2-3. Evidence that the Settlement is a fair

   and reasonable compromise can be readily found here.

          In discussing the approval of settlements such as the one presented here, the Eleventh



                                                   4
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 5 of 10 PageID 190




   Circuit has noted that:

          Settlements may be permissible in the context of a suit brought by employees under
          the FLSA for back wages because initiation of the action by the employees provides
          some assurance of an adversarial context. The employees are likely to be
          represented by an attorney who can protect their rights under the statute. Thus,
          when the parties submit a settlement to the court for approval, the settlement is
          more likely to reflect a reasonable compromise of disputed issues than a mere
          waiver of statutory rights brought by an employer’s overreaching. If a settlement
          in an employee FLSA suit does reflect a reasonable compromise over issues, such
          as FLSA coverage or computation of back wages that are actually in dispute, we
          allow the district court to approve the settlement in order to promote the policy of
          encouraging settlement of litigation.

   Id. at 1354. In considering the Settlement, the Court should be aware that a “settlement is a

   compromise, a yielding of the highest hopes in exchange for certainty and resolution” and

   should not unnecessarily disturb the strong presumption in favor of settlement in the FLSA

   context. See Electronic Arts, Inc., No. 6:05-cv-131-Orl-28JGG, 2006 WL 4792780, at *3.

   An FLSA settlement may be approved as fair even where plaintiffs receive in settlement

   substantially less than the amount they originally claimed. See Rutland v. Visiting Nurse

   Assoc. of Central Fla., Inc., No. 6:07-cv-1130-Orl-19-19DAB, 2008 WL 3833254, *2 (M.D.

   Fla. Aug. 13, 2008).

          Information revealed during discovery—including the review of the information the

   Court ordered the Parties to exchange—as well as the risks associated with litigation and the

   viability of certain defenses, all may cause a plaintiff like Goodson to settle for less than the

   original amount claimed and are sufficient considerations for the Court to determine that the

   compromise resolved a bona fide dispute. See id. (approving FLSA settlement where

   plaintiffs settled for substantially less than the wages amount initially claimed in their

   interrogatories); see also Buntin v. Square Foot Management Co., LLC, No. 6:14-v-1394-



                                                   5
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 6 of 10 PageID 191




   Orl-37GJK, 2015 WL 3407866 (M.D. Fla. May 26, 2015).

          Here, under the terms of the Parties’ Settlement, Goodson will receive $1,750.00 in

   compromise for all of his disputed claims for unpaid wages and $1,750.00 in compromise for

   his disputed claims for liquidated damages. While it is true that Goodson claimed that he was

   owed $4,520.94 in his Response to Court’s Interrogatories to Plaintiff, he acknowledged that

   he arrived at that calculation by using only an estimation based on payroll records and not any

   particular record showing the dates and times he was purportedly worked off the clock and

   allegedly not paid overtime. [See Dkt. 13].

          And, with respect to Goodson’s 20%/dual occupation claims calculation, Goodson

   further acknowledged that he arrived at the estimated amount he was seeking by applying a

   formulaic approach by which he simply sought the difference between the tipped wage rate

   he received and the applicable minimum wage for each hour he worked during the entirety of

   his employment with OSRS. [See Dkt. 13]. Goodson did not reduce from his calculations

   those hours for which he was paid full minimum wage while not performing tipped work.

   Additionally, Goodson’s determination that he actually spent more than 20% of his work on

   each shift was solely based on his best estimate of how much it took to perform each and

   every task he was required to do as opening, running, and closing side work during any given

   shift, which admittedly, per Goodson, varied based on a number of factors. OSRS disputed,

   through testimony of managers from the restaurant to which Goodson was assigned to work

   and other documentary evidence, Goodson’s estimations. It is worth noting that Goodson’s

   20%/dual occupation estimate made up the most substantial part of his estimated damages

   (1,967.63 hours of a total 2,038.73 hours claimed), which is the most contested aspect of his



                                                 6
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 7 of 10 PageID 192




   claim.

            The settlement amount agreed to between the Parties reflects a reasonable

   compromise of a bona dispute between the Parties as evidenced, in part, by the briefings filed

   by the Parties at the motion to dismiss phase and deposition testimony of corporate witnesses

   and Plaintiff. It also reflects a compromise on the Parties’ differing views on potential

   evidentiary hurdles OSRS believes Goodson cannot clear in establishing the duties

   performed on each shift, the amount of time spent performing those duties, the dates/hours he

   allegedly worked off the clock, and the dates/hours he purportedly was not paid overtime.

   Both counsel for Goodson and counsel for OSRS have both litigated a fair number of these

   cases and are experienced in assessing the uncertainty that exists in Goodson proving his

   claims, the likely expense and length of litigating this case through trial/appeal, and weighing

   the relative strengths and weaknesses of the claims and defenses asserted. Considering all of

   the foregoing, the Settlement should be deemed fair.

            The Settlement should also be found fair because it does not include provisions such

   as a confidentiality clause and other provisions that, at times and under certain

   circumstances, have been deemed inappropriate in FLSA compromises. See Clarke v. Alta

   Resources Corp., No. 2:17-cv-276-FtM-99CM, 2017 WL 4958771, * (M.D. Fla. Oct. 30,

   2017)(discussing cases). And to the extent that the Settlement includes a limited release, it

   still should be found fair because it is sufficiently limited to wage and hour claims under the

   FLSA, FMWA and/or the Florida Constitution, which would have been compulsory claims to

   the litigation. See Landrua v. Worldgate Vacations, LLC, No. 6:16-cv-1866-Orl-37DCI,

   2017 WL 2001997, *1 (M.D. Fla. May 11, 2017).



                                                  7
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 8 of 10 PageID 193




          Additionally, Goodson received compensation of $100.00 as consideration for the

   limited release that is separate and apart from the benefits to which he may be entitled under

   the FLSA, FMWA and/or the Florida Constitution. See Middleton v. Sonic Brands L.L.C.,

   Case No. 6:13-cv-386-Orl-28KRS, 2013 WL 4854767, at *3 (M.D. Fla. Sept. 10,

   2013) (approving a settlement agreement providing $100 as separate consideration for a

   general release). Thus, the limited release provision does not render the Settlement unfair or

   unreasonable. Id. The same is true of the waiver of future employment clause. Id. at 4. As

   such, the Settlement should be approved.

          2. The Settlement was not Tainted by the Compromise of Plaintiff’s Claim for
             Attorneys’ Fees and Costs.

          The Settlement should also be approved because the amount agreed to between the

   Parties as a compromise for Goodson’s disputed claim for attorneys’ fees and costs was

   agreed upon separately and without regard to the amounts to be paid to Goodson for his

   underlying claims. See Bonnetti v. Embarq Management Company, 715 F. Supp.2d 1222,

   1228. Under such circumstances, the Court can approve the settlement without separately

   considering the reasonableness of the fee to be paid to Goodson’s counsel unless the Court

   finds that the settlement does not appear reasonable on its face or there is reason to believe

   that Plaintiff’s recovery was adversely affected by the amount of fees paid to his attorney.

   Id.; Dyer v. M&M Asphalt Maintenance, Inc., No. 6:15-cv-959-Orl-37KRS, 2017 WL

   2298192, at *2 (M.D. Fla. May 26, 2017).

          Furthermore, the amounts to be paid for fees and costs reflects a reasonable

   compromise over disputed issues regarding Goodson’s entitlement to the full amount sought

   for attorneys’ fees and costs. Under the terms of the Settlement, Goodson’s counsel will


                                                  8
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 9 of 10 PageID 194




   receive $7,398.00, which reflects payment of actual costs spent in the litigation totaling

   $2,398.00 plus payment of $5,000.00 for fees, which only represents a fraction of the actual

   time spent litigating the case considering alone the number of depositions taken in this case

   (four) and the amount of written discovery exchanged between the parties.

          In addition to paying the sum set forth above to resolve Goodson’s disputed claim for

   attorneys’ fees and costs, OSRS also agreed to pay the full costs of mediation in this matter

   totaling $2,338.50, which includes OSRS’s share of said costs.

                                          CONCLUSION

          Because the Settlement is reasonable and fair in all respects, the Parties jointly and

   respectfully request that the Court grant this motion and enter an order approving the

   settlement and dismissing this action with prejudice.

          Respectfully submitted this 1st day of March, 2018.



    /s/Tammy Hammack-Barber                           /s/LaKisha M. Kinsey-Sallis
    Tammy Hammack-Barber                              Kevin D. Johnson
    Florida Bar No. 105976                            Florida Bar No. 0013749
    Cohen Law Group                                   LaKisha M. Kinsey-Sallis
    350 North Lake Destiny Road                       Florida Bar No. 78265
    Suite 300                                         Johnson Jackson LLC
    Maitland, FL 32751                                100 North Tampa Street
    Telephone: (407) 478-4878                         Suite 2310
    Facsimile: (407) 478-0204                         Tampa, FL 33602
    Email: thammack@itsaboutjustice.law               Telephone: (813) 580-8400
    tiina@itsaboutjustice.law                         Facsimile: (813) 580-8407
    Attorney for Plaintiff                            Email: kjohnson@johnsonjackson.com
                                                             lkinseysallis@johnsonjackson.com
                                                      Attorneys for Defendant




                                                  9
Case 5:17-cv-00010-RBD-PRL Document 25 Filed 03/01/18 Page 10 of 10 PageID 195




                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished to counsel

    of record via the Court’s CM/ECF system this 1st day of March, 2018.



                                               /s/LaKisha M. Kinsey-Sallis
                                               Attorney




                                                10
